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UNITED STATES BANKRUPCY COURT
FOR THE SOUTHERN DISTRICT OF CALIFORNIA
DO3S52_

IN RE: ) Case Number: SDCA Case # 23-03823-CL 13
PAUL JOSEPH BLAZEVICH, ) CONSENT TO RELIEF FROM
) AUTOMATIC STAY
)
DEBTOR. _ )
)

The debtor, PAUL JOSEPH BLAZEVICH, hereby consents to the motion filed on April
12, 2024, (Document #56) by creditor, NewRez LLC, dba Shellpoint Mortgage Servicing, as
servicer for Bank of America, N.A., for relief from the automatic stay imposed in this case
through Title 11 of the United States Code section 362(a).

DECLARATION

I, PAUL JOSEPH BLAZEVICH, am the debtor in the above captioned case.

I acknowledge the above referenced motion and do not object to the relief from stay
therein requested, permitting the creditor to proceed with actions in accordance with their rights

under state law.

Date — / Paul Blazevich

Consent to Relief from Automatic Stay l In re: Paul Joseph Blazevich, Bankruptcy
SDCA Case Number 23-03832-CL13

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